Case 2:12-cv-01963-AC Document1 Filed 07/26/12 Page 1 of 3

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cutmy ” JUL 26 2012
RASTERN DIgFP Srher counr
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FORM!
DEPUTY Giese i’

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT GF CALIFORNIA

Denns Car ner RIX W149 @3 CHRO

(Name of Plaintiff) (Case Number)
jeoo Gateway Dr.

let of Plaintiff)
Valle yo Cg AS F9

Vs. COMPLAINT

Seven Darden S24 Sory Trig \ seman 4

 

 

(Names of Defendants)

I, Previous Lawsuits:
bu
A. Have you brought any other lawsuits while a prisoner: & Yes BNo

B. If your answer to A is yes, how many?: s 3 Describe the lawsuit in the space
below. (If there is more than one lawsuit, describe the additional lawsuits on another piece of paper

using the same outline.)
1. Parties to this previous lawsuit:

Plaintiff % enn & Cra ra nif

 

Defendants SJeven twrarclflen

 

FORM TO BE'USED BY A PRISONER IN FILING A COMPLAINT
UNDER THE CIVIL RIGHTS ACT, 42 U.S.C. § 1983 Rev'd 5/99

 
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2, Court (if Federal Court, give name of District; if State Court, give name of County)

4. Ostret Covrt for the Eastern Dy Sriet éal)

3. Docket Number

 

4, Name of judge to whom case was assigned

 

5. Disposition (Kor example: Was the case dismissed? Was it appealed? Is it still pending?)
Pending

6. Approximate date of filing lawsuit

 

7. Approximate date of disposition

 

Ul. Exhaustion of Administrative Remedies

A. Is there a grievance procedure available at your institution? CO Yes O No

B. Have you filed a grievance concerning the facts relating to this complaint?
0 Yes C] No
If your answer is no, explain why not

 

 

C. Is the grievance process completed? O Yes CI No

Il. Defendanis

(In Item A below, place the full name of the defendant in the first blank, his/her official
position in the second blank, and his/her place of employment in the third blank. Use item B
for the names, positions and places of employment of any additional defendants.)

    

A. Defendant _s\@ven Daf aden S29 _, _ is employed as
at_valleq Po

 
  

B. Additional defendants

 

 

 

 

 

 

 
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IV. Statement of Claim

(State here as briefly as possible the facts of your case. Describe how each defendant is
involved, including dates and places. Do not give any legal arguments or cite any cases or
statutes. Attach extra sheets if necessary.)

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V. Retief.

(State briefly exactly what you want the court to do for you. Make no legal arguments, Cite
no cases or statutes.)

 

 

under

 

 

 

 

 

 

Signed this_] “]_ day of November 20 II
(Signature of Plaintiff)

I declare under penalty of perjury that the foregoing is true and correct.

W/iz/aotl Denno Dar dan

! (Daie) (Signature of Plaintiff)
